      Case: 7:21-cv-00004-DLB Doc #: 10-4 Filed: 02/24/21 Page: 1 of 1 - Page ID#: 53

 -~                 Garrison Property and Casualty lnsuranc:.e
                    Company                                                  INSURANCE ACCOUNT
  USAA®
   04664,4VNGG.JSS1733819997,0l,Ol,1573

 RYAN HALL
 27 CREEKSIDE DR
 PRESTONSBURG KY 41653-8915




 Contact Us About Your USAA Insurance Account

 March 7, 2019

 Dear Mr. Hal~

 Thank you for trusting USAA with your insurance needs. We've recently tried to contact you by phone to discuss your
 homeowners policy. Unfortunately, we've been unable to reach you. At your earliest convenience, please call me at
 210-531-USAA (8722), or use our mobile shortcut #8722 and enter my extension 47812 when prompted. If you need
 to avoid long-distance charges, call 800-531-8722.

 Do We Have Your Correct Information?
 When you have a few minutes, please make sure that the personal Information we have for you is correct. To do this,
 log on to usaa.com and select;

     1.   My Profile at the top of the page.
     2.   Update Address & Phone Numbers from the drop-down menu.
     3.   Edit to make changes In the appropriate sections.

We value your business and look forward to serving all your financial needs.

Sincerely,


Heidi L Wright
Member Service Representative
Banking and Member Solutions
Garrison Property and Casualty insurance Company


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